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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )          Case No. 4:07CR3079
                      Plaintiff,            )
                                            )
      vs.                                   )          TENTATIVE
                                            )          FINDINGS
JOSE ROMO-CORRALES,                         )
                                            )
                      Defendant.            )

      I am in receipt of the presentence investigation report in this case. There are
no objections or motions for departure or variance.

      IT IS ORDERED that:

        (1) The undersigned will consult and follow the Guidelines to the extent
permitted and required by United States v. Booker, 543 U.S. 220(2005) and
subsequent cases. See, e.g., Gall v. U.S., --- S.Ct. ----, 2007 WL 4292116 (2007).
In this regard, the undersigned gives notice that, unless otherwise ordered, he will (a)
give the advisory Guidelines such weight as they deserve within the context of each
individual case and will filter the Guidelines' general advice through §3553(a)'s list
of factors1; (b) resolve all factual disputes relevant to sentencing by the greater weight
of the evidence and without the aid of a jury; (c) impose upon the government the
burden of proof on all Guideline-enhancements; (d) impose upon the defendant the
burden of proof on all Guideline-mitigators; (e) depart from the advisory Guidelines,
if appropriate, using pre-Booker departure theory; and (f) in cases where a departure
using pre-Booker departure theory is not warranted, deviate or vary from the
Guidelines when there is a principled reason which justifies a sentence different than




      1
          However, I will no longer give the Guidelines “substantial weight.”
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that called for by application of the advisory Guidelines.2

      (2) There are no disputed matters regarding the presentence report and the
proper computation of the advisory Guidelines ranges.

       (3) Except to the extent (if at all) that I have sustained an objection or
granted a motion or reserved an issue for later resolution in the preceding paragraph,
the parties are herewith notified that my tentative findings are that the presentence
report is correct in all respects.

       (4) If any party wishes to challenge these tentative findings, said party shall,
as soon as possible, but in any event at least five (5) business days before sentencing,
file in the court file and serve upon opposing counsel and the court a motion
challenging these tentative findings, supported by (a) such evidentiary materials as
are required (giving due regard to the requirements of the local rules of practice
respecting the submission of evidentiary materials), (b) a brief as to the law and (c)
if an evidentiary hearing is requested, a statement describing why an evidentiary
hearing is necessary and how long such a hearing would take.

       (5) Absent submission of the information required by the preceding
paragraph of this order, my tentative findings may become final and the presentence
report may be adopted and relied upon by me without more.

      (6) Unless otherwise ordered, any motion challenging these tentative
findings shall be resolved at sentencing.

      December 16, 2008.                   BY THE COURT:
                                           s/ Richard G. Kopf
                                           United States District Judge

      2
          See note 1.

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